         Case 17-28465                  Doc 34     Filed 07/27/18 Entered 07/27/18 12:46:36                          Desc Main
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Fill in this information to identify the case:
Debtor 1 Deidre Rena Donnerson
Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the: Western District of Tennessee
                                                                      (State)

Case number 17-28465-PJD


Official Form 410S2

Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                  12/16

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in
the debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the
bankruptcy filing that you assert are recoverable against the debtor or against the debtor's principal residence.

File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.

Name of creditor:            Lakeview Loan Servicing, LLC                       Court claim no. (if known):   29


Last 4 digits of any number you use to
identify the debtor's account:                     4130


Does this notice supplement a prior notice of postpetition fees,
expenses, and charges?
X             No
              Yes. Date of the Last Notice


Part 1:               Itemize Postpetition Fees, Expenses, and Charges
Itemize the fees, expenses, and charges incurred on the debtor's mortgage account after the petition was filed. Do not include
any escrow account disbursements or any amounts previously itemized in a notice filed in this case. If the court has previously
approved an amount, indicate that approval in parentheses after the date the amount was incurred.
                          Description                             Date(s) Incurred                                 Amount

PROOF OF CLAIM                                                       02/05/2018                                    $425.00

The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.




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Debtor 1 Deidre Rena Donnerson                                                                         Case number (if known) 17-28465-PJD




Part 2:        Sign Here

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone
number.

 Check the appropriate box.

    I am the creditor.
     I am the creditor's authorized agent.

I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
information, and reasonable belief.

X        /s/ Lisa F. Caplan                                           Date    July 27, 2018
         Signature
Print:               Lisa F. Caplan                                   Title   Attorney for Creditor
                     First Name     Middle Name Last Name

Company              Rubin Lublin TN, PLLC

Address              119 S. Main Street, Suite 500
                     Number        Street
                     Memphis, TN 38103
                     City                         State   ZIP Code

Contact phone (877) 813-0992                                          Email lcaplan@rubinlublin.com




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                               UNITED STATES BANKRUPTCY COURT

                                                      Notice to Borrower
Upon written request, you are entitled to the following information:
   A. A copy of your payment history from the period the mortgage loan was last less than 60 days delinquent to present
   B. A copy of the promissory note or lost note affidavit where applicable
   C. The name of the investor that holds the loan
   D. If we have initiated foreclosure or filed a Proof of Claim, you may obtain copies of any assignments of mortgage or
       deed of trust required to demonstrate our right to foreclosure under applicable state law.

To obtain this information, submit a written request to:


Borrower Information Requests
3637 Sentara Way
Virginia Beach, VA 23452




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                                  CERTIFICATE OF SERVICE

       I certify that on the 27th day of July, 2018, I caused a copy of the Notice of Postpetition
Mortgage Fees, Expenses, and Charges to be filed in this proceeding by electronic means and to be
served by depositing a copy of the same in the United States Mail in a properly addressed envelope
with adequate postage thereon to the said parties as follows:



Deidre Rena Donnerson
1790 Whitman Rd.
Memphis, TN 38116

Holly W. Schumpert, Esq.
2552 Poplar Avenue, Suite 4F
Memphis, TN 38112

George W. Stevenson
Chapter 13 Trustee
5350 Poplar Avenue
Suite 500
Memphis, TN 38119-3697



Executed on 7/27/18
By:/s/ Lisa F. Caplan
Lisa F. Caplan
TN BPR No. 028887
Rubin Lublin TN, PLLC
119 S. Main Street, Suite 500
Memphis, TN 38103
(877) 813-0992
lcaplan@rubinlublin.com
Attorney for Creditor
